     Case: 1:22-cv-00149-TSB-KLL Doc #: 1-1 Filed: 03/23/22 Page: 1 of 4 PAGEID #: 4



received
                                            UNITED STATES DISTRICT COURT
  MAR 2 3 2DZ2                     for the southern district of ohio
RICnARON^NAGEL                                 fk}/'sU^n'            division
  Clyrk OV Court
CINCINNATI. OHIO
     "Dr.o:-c.l ]bl^h/6b^
    (Enter Above the Nameof the Plaintiff in this Action)


                                  vs.
                                                                                           W Z2CV 1 4 9
     I           dhn>                                    -Vmns
    (Enter above the name of the Defendant in this Action)                                J. BLACK
    If there are additional Defendants, please list them:

                                                                                        MJ. UTK0V1T7



                                                            COMPLAINT




    I.   Parties to the action:


         Plaintiff:     Place your name and address on the lines below. The address you give must be the address where
                        the court may contact you and mail documents to you. A telephone number is required.


                                                    iOSon
                        Name - Full Name Please - PRINT .           ..    i    r\^i     •».«                     _
                                                                    i>lve4     R^-h l/V
                                          ^bvgao-A.                nr
                        Street Address               ^

                          C                              ahiA
                        City, State and Zip Code

                           717-
                        Telephone Number

         Ifthere are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
         page with their full names, addres.ses and telephone numbers. If there are no other Plaintiffs, continue with this
         form.
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    Defendant(s):

    Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
    form is invalid unless each Defendant appears with full address for proper service.

    1.                     ^
         htone^iTllName Please
                                       )Iv Sir £> Dfpdr^^t'h^l
                       U^€s\-b/7}aJ            Sh^eJ-            CdluM-buS ^
         Address: Street, City, State and Zip Code




    5.




    6.




         If there are additional Defendants, please list their names and addresses on a separate sheet of paper.


II. Subject Matter Jurisdiction

    Check the box or boxes that describes your lawsuit:

  ^^^^iUe28 U.S.C. §1343(3)
             [A civil rights lawsuit allegingthat Defendant(s) acting under color of State law, deprived you of a
             right secured by federal law or the Constitution.]

    •    Title28U.S.C.§ 1331
             [A lawsuit "arising underthe Constitution, laws, or treatiesof the United States."]

    •    Title 28 U.S.C. § 1332(aXl)
             [A lawsuitbetweencitizens of different states wherethe matter in controversy exceeds$75,000.]

    •    Title       United States Code, Section
             [Other federal status giving the court subject matterjurisdiction.]




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ni. Statement of Claim

    Pleasewrite as brieflyas possiblethe facts of your case. Describe how each Defendant is involved. Includethe
    name of all persons involved, give dates and places.

    Numbereach claim separately. Use as much space as you need. You are not limitedto the paperswe give you.
    Attach extra sheets that deal with your statement claim immediately behind this piece of paper.


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      "yU.            th.Q                                                                   l-n»^
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Case: 1:22-cv-00149-TSB-KLL Doc #: 1-1 Filed: 03/23/22 Page: 4 of 4 PAGEID #: 7

IV. Previous lawsuits:


     If you havebeena Plaintiffin a lawsuit, for each lawsuit statethecase number and caption.
     (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doel.

     Case Number                                   Caption

         i- ai-cv-7;) .                                                vs. 1sS^ c
       I '• ^0 ~CV' ^^1                                                vs.    C, \\C : n^c.l i',       iro
      ^ t                   M                                          vs.               /D


V.   Relief


     In this section pleasestate (write) briefly exactly whatyou want the court to do for you. Make no legal
     argument, cite no case or statutes.

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     I state under penalty of peijury that the foregoing is true and correct. Executed on

     this Z-S    day of                A               , 20 aS.


     Signature of Plaintiff
